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12

13
                            UNITED STATES DISTRICT COURT
14

15                         CENTRAL DISTRICT OF CALIFORNIA

16                                           )
      PAVEL FUKS, an individual,             )    Case No.: 8:19-cv-1212- FLA (JDEx)
                                             )
17                                           )

18                   Plaintiff,
                                             )    PLAINTIFF PAVEL FUKS’S
                                             )
                                             )    WITNESS LIST
19     vs.                                   )
                                             )
                                             )
20                                           )
      YURI VANETIK, an individual,           )
21                                           )

22                 Defendant.
23

24

25

26

27

28


      -1-                                        PLAINTIFF PAVEL FUKS’S WITNESS LIST
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 1        Witness’s                                            Time for     Time for
        Name*, Title,      Summary of Testimony / Why           Direct       Cross         Dates of
 2        Affiliation         Testimony Is Unique               Exam         Exam         Testimony
 3      (If Relevant)                                          (hours)      (hours)
       Pavel Fuks,        Will testify concerning
 4     Plaintiff          Defendant’s promise to provide a
       (Resides in        VIP package for the 2017
 5     Ukraine, will      Presidential Inauguration in
       testify by         exchange for $200,000; payment
 6
       video-             of the $200,000; Defendant’s          4 hours      4 hours
 7     conference and     failure to provide the promised        (given       (given
       through an         VIP inauguration package;           translation) translation)
 8     interpreter)       Defendant’s refusal to return the
                          money; and the damages and
 9                        harm caused by Defendant’s
10                        actions.

11     Matt Keelen*,      Will testify that:
       Founder and        The Keelen Group (i) was not
12     President of the   engaged to provide services for
       Keelen Group       Defendant Vanetik or any of his
13
                          clients in connection with the
14                        Presidential Inauguration in 2017,
                          (ii) had no contract with Mr.
15                        Vanetik relating to the 2017
                          Inauguration, (iii) had no non-
16                        disclose agreement with Mr.
17                        Vanetik relating to the 2017
                          Inauguration; (iv) did not organize
18                        a program of events relating to the
                          2017 Inauguration; (v) had no
19                        responsibility for organizing a
                          program of events relating to the     2 hours   1 hour
20
                          2017 Inauguration either for Mr.
21                        Vanetik or Mr. Fuks; (vi)
                          purchased several tickets to one
22                        inauguration even at the request of
                          Mr. Vanetik for which Mr.
23                        Vanetik reimbursed The Keelen
24                        Group approximately $5,000 for
                          the cost of the tickets and use of a
25                        private driver; (vii) was neither
                          promised nor received any form
26                        of compensation for information
                          about inauguration events other
27
                          than the reimbursement of the
28                        $5,000; (viii) held an inauguration
                          and parade viewing party on
                          January 20, 2017 that Mr. Vanetik
      -1-                                               PLAINTIFF PAVEL FUKS’S WITNESS LIST
     Case 8:19-cv-01212-FLA-JDE Document 56 Filed 04/30/21 Page 3 of 3 Page ID #:292



 1                   and Mr. Fuks attended; (ix) did
                     not charge Mr. Vanetik, Mr. Fuks,
 2                   or anyone else who attended the
 3                   event; and (x) was not
                     compensated in any manner for
 4                   Mr. Fuks’s attendance at the event
                     or anyone else’s attendance at the
 5                   event.
 6
                     Will further testify that:
 7                   he (i) did not observe Mr. Fuks
                     acting in a threatening manner or
 8                   making threat to anyone, (ii) did
                     not observer Mr. Fuks behaving
 9                   bizarrely or aggressively toward
10                   anyone, (iii) has no knowledge of
                     Mr. Vanetik’s communications
11                   with Mr. Fuks regarding the 2017
                     Inauguration, (iv) has no
12                   knowledge of any purported
                     approval by Mr. Fuks of any
13
                     program relating to the 2017
14                   Inauguration; (v) did not organize
                     a program of events relating to the
15                   2017 Inauguration for Mr. Fuks,
                     Mr. Vanetik, or any of Mr.
16                   Vanetik’s other clients; and
17                   (vi) had no responsibility to
                     organize a program of events
18                   relating to the 2017 Inauguration
                     for Mr. Fuks, Mr. Vanetik, or any
19                   of Mr. Vanetik’s other clients
20

21 *Indicates that witness will be called only if the need arises.

22
      DATED: April 30, 2021                    ASHBY LAW FIRM P.C.
23                                             Joseph R. Ashby
24
                                               EVERSHEDS SUTHERLAND LLP
25
                                               William T. O’Brien
26                                             John W. Lomas, Jr.
27
                                               By: ___/s/ Joseph R. Ashby_____________
28                                                   Joseph R. Ashby
                                               Attorneys for Plaintiff Pavel Fuksp
      -2-                                        PLAINTIFF PAVEL FUKS’S WITNESS LIST
